CaSe 2:05-cV-02386-.]P|\/|-de Document 3 Filed 07/15/05 Page 1 of 3 Page|D 16

W.ED BY _____ Do.
IN THE UNITED S'I‘ATES DISTRICT COURT '

FoR THE wEsTERN DIsTRIcT oF TENNESSEE g
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R.ALPH LYDELL VEASY,
Petitioner,

vs. No. 05-2386-Ml/V

'I' . C . OUTLAW,

Respondent.

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ORDER DIREC‘I'ING PETITIONER 'I‘O FILE AN g FORMA PAUPERIS AFFIDAVIT
OR PAY THE HABEAS FILING FEE

 

Petitioner Ralph Lydell Veasy, Bureau of Prisons inmate
registration number 14596-076, an inmate at the Federal
Correctional Institution in Memphis (“FCI-Memphis”), filed a prg_§g
petition pursuant to 28 U.S.C. § 2241 on May 24, 2005. The Clerk
shall record the Respondent as FCI-Memphis Warden T.C. Outlaw.

A habeas petition carries a filing fee of five dollars
($5.00). 28 U.S.C. § 1914(a). Veasy’s petition is not accompanied
by either the filing fee or a motion to proceed in §grma pauperis.
Accordingly, Veasy is ORDERED either to submit a properly completed
ig_§g;mg pauperis affidavit demonstrating his indigency, along with

an inmate trust fund account statement, or pay the filing fee

Thts document entered on the docket sheet in compliance

with Ru|e 58 and[or 79(a} FHCP on '7` f!'O{

CaSe 2:05-cV-02386-.]P|\/|-de Document 3 Filed 07/15/05 Page 2 of 3 Page|D 17

within thirty (30) days of the date of entry of this order. The
Clerk is ORDERED to mail a copy of the prisoner pp fp;pa pauperis
affidavit to Petitioner along with this order.l Failure to timely
comply with any requirement of this order will result in dismissal

Of the petition without further notice for failure to prosecute.

IT IS SO ORDERED this icg day of Jugj» 2005.

0 on‘OM

JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

 

1 In the interest of expediting this matterl Petitioner is advised

that, if his inmate trust fund account has a balance of at least twentyjfive
dollars ($25.00), an application to proceed pp forma pauperis will be denied.

2

     

UNITED`TATES DTRCISITCOURT - WESERNDISTCRIT oF'TNt\I'EssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02386 Was distributed by faX, mail, or direct printing on
July ]8, 2005 to the parties listed.

 

 

Ralph Lydell Veasey

Federal Correctional Institution
14596-076

P.O. Box 34550

Memphis7 TN 3 8184

Honorable J on McCalla
US DISTRICT COURT

